UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:                                                Chapter 11

 THE DIOCESE OF ROCHESTER,                             Case No. 19-20905 (CGM)

                             Debtor.


              NOTICE OF HEARING ON THE OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS’ APPLICATION TO RETAIN AND EMPLOY
            THE CLARO GROUP, LLC AS VALUATION EXPERT EFFECTIVE
            AS OF JUNE 16, 2021 AND PROVIDING THE CLARO GROUP, LLC
              WITH ACCESS TO THE SEXUAL ABUSE PROOFS OF CLAIM

          PLEASE TAKE NOTICE that, on June 24, 2021, the Official Committee of Unsecured

Creditors (the “Committee”) of the above-captioned debtor and debtor-in-possession filed The

Official Committee of Unsecured Creditors’ Application for Entry of an Order Under 11 U.S.C.

§§ 1103(a) and 328(a) and Fed.R.Bankr. P. 2014(a) Authorizing Retention of The Claro Group,

LLC as Valuation Expert Effective as of June 16, 2021 and Providing The Claro Group, LLC

with Access to the Sexual Abuse Proofs of Claim (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that the Committee will move before the

Honorable Paul R. Warren, United States Bankruptcy Judge for the Western District of New

York, at the United States Courthouse, 100 State Street, Rochester, New York on July 9, 2021 at

11:00 a.m. (prevailing Eastern Time), or as soon thereafter as counsel may be heard, for the

entry of an order granting the relief sought in the Motion, and for such other and further relief as

the Court deems just and proper.

          PLEASE TAKE FURTHER NOTICE that any objections or responses to the Motion

must be in writing, conform to the Federal Rules of Bankruptcy Procedure, and the Local

Bankruptcy Rules for the Western District of New York and be filed with the Court and served

so as to be actually received on or before July 6, 2021 (prevailing Eastern Time) (the

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“Objection Deadline”) by the following parties: (a) counsel to the Official Committee of

Unsecured Creditors, Pachulski, Stang, Ziehl & Jones LLP, 10100 Santa Monica Boulevard,

13th Floor, Los Angeles, California 90067-4003, Attn: James I. Stang; (b) the Debtor, The

Diocese of Rochester, Attn: Lisa Passero, CFO, 1150 Buffalo Road, Rochester, New York

14624; (c) counsel to the Debtor, Bond, Schoeneck & King, PLLC, One Lincoln Center,

Syracuse, New York 13202, Attn: Stephen A. Donato and Charles J. Sullivan; (d) counsel for

any additional Committees that may be hereafter appointed; (e) the Office of the United States

Trustee for the Western District of New York, 100 State Street, Room 609, Rochester, New York

14614, Attn: Kathleen D. Schmitt, and (f) those persons who have formally appeared and

requested service in this case pursuant to Rule 2002 of the Federal Rules of Bankruptcy

Procedure.

        PLEASE TAKE FURTHER NOTICE that a copy of the Motion and all other

documents filed in this Chapter 11 Case may be obtained free of charge at the Diocese’s case

management website (https://case.stretto.com/rochesterdiocese) or by contacting the undersigned

counsel for the Committee.

 Date: June 24, 2021                        PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Ilan D. Scharf
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                                            Counsel to the Official Committee of Unsecured
                                            Creditors of The Diocese of Rochester


                                               2
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